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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      www.flsb.uscourts.gov

IN RE:                                           CASE NO. 19-24331-BKC-JKO
                                                 CHAPTER 13
RALPH LEVI SANDERS, JR.
__________________________/

             OBJECTION TO CLAIM ON SHORTENED NOTICE
 AND CERTIFICATE OF SERVICE OF COURT-GENERATED NOTICE OF HEARING
                   UPON FILING OF INSTANT MOTION

             IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                               TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim is
recommended. Upon the filing of this objection an expedited hearing on this
objection will be scheduled on the date already scheduled for the confirmation
hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the Debtor objects
to the following claim filed in this case:

Claim No.     Name of Claimant      Amount of Claim    Basis for Objection and Recommended
                                                       Disposition
3-1           Department of the     $42,307.92         The creditor filed an unsecured priority
              Treasury – Internal                      claim in the amount of $14,677.32 for
              Revenue Service                          an unfiled 2016 tax return. The Debtor
                                                       states that this return has been filed.
                                                       Sustain Objection and limited priority
                                                       claim to $214.88 for 2012 taxes owing.


The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

                         CERTIFICATE OF SERVICE AND COMPLIANCE
                        WITH LOCAL RULES 3015-3(A)(1) AND 9073-1(D)

      I hereby certify that a copy of this Objection and the Notice of Hearing Generated by
the Court upon filing of instant motion will be served pursuant to Bankruptcy Rule 7004 on
the Chapter 13 trustee and the following affected parties in the manner described below on
this 2nd day of February, 2020 and that I have conferred with opposing counsel in an

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attempt to resolve these issues before requesting this hearing:
I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida and I am in
compliance with the additional qualifications to practice in this Court as set forth in local rule 910(d)(1) and (2).


Served Upon:

VIA CM/ECF:
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
ecf@ch13weiner.com;ecf2@ch13weiner.com

VIA U.S. MAIL:
Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Internal Revenue Service
7850 SW 6 Ct.
M/S 5730
Jacksonville, FL 32202
ATTN: Jorge Luciano, Bankruptcy Specialist

Dated: February 2, 2020                                                LAW OFFICES OF MICHAEL H. JOHNSON
                                                                       Attorneys for Debtor(s)
                                                                       3601 W. Commercial Blvd, Ste 31
                                                                       Ft. Lauderdale, FL 33309
                                                                       (954) 535-1131

                                                                       By:_/s/ Michael H. Johnson_____
                                                                          Michael H. Johnson
                                                                          Florida Bar No. 0149543

                                                                             I HEREBY CERTIFY THAT I AM ADMITTED TO THE BAR OF THE
                                                                             UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                                                                             DISTRICT OF FLORIDA AND I AM IN COMPLIANCE WITH THE
                                                                             ADDITIONAL QUALIFICATIONS TO PRACTICE IN THIS COURT
                                                                             SET FORTH IN LOCAL RULE 2090-1(A).




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